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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
X 1:17-cv-02914-DAB

 

MAPLEWOOD AT UPPER EAST SIDE, LLC,

Hon. Deborah A. Batts
Plaintiff,
ANSWER
-against- TO THIRD-PARTY

COMPLAINT

MALA SENDYK AS ADMINISTRATOR OF THE

ESTATE OF BENJAMIN SENDYK, SHARON

SENDYK AS ADMINISTRATOR OF THE ESTATE

OF BENJAMIN SENDYK, CHICAGO TITLE

INSURANCE COMPANY, as

Escrow agent/stakeholder, INTERIORS BY

B & H, INC. and 1808 2"? REALTY, LLC,

Defendants.

 

SHARON SENDYK AS ADMINISTRATOR OF
THE ESTATE OF BENJAMIN SENDYK,

Third-Party Plaintiff,
-against-
LEONARD RODNEY, ESQ. and LARRY GALLUS, CPA,

Third-Party Defendants.
x

 

Third-Party Defendant Larry Gallus, CPA (“Gallus”), by and through his attorneys, Milber
Makris Plousadis & Seiden, LLP, as and for his answer to the Third-Party Complaint (the
“Complaint”), alleges upon information and belief, as follows:

AS AND FOR AN ANSWER TO INTRODUCTION

1. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “1” of the Complaint.

2. Gallus denies each and every allegation set forth in Paragraph “2” of the Complaint.

3. Gallus denies each and every allegation set forth in Paragraph “3” of the Complaint.
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AS AND FOR AN ANSWER TO THE PARTIES

4. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “4” of the Complaint.

5. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “5” of the Complaint.

6. Gallus admits that he prepared tax returns for the Estate and that he maintains a
business address at 1613 Avenue Z, Brooklyn, New York 11235, and denies the remainder of the
allegations set forth in Paragraph “6” of the Complaint.

f. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “7” of the Complaint.

8. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “8” of the Complaint.

9. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “9” of the Complaint.

AS AND FOR AN ANSWER TO JURISDICTION AND VENUE

10. Gallus admits the allegations set forth in Paragraph “10” of the Complaint.

11. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “11” of the Complaint.

12. Gallus admits that venue is proper in this district and respectfully refers the Court
to the provisions of the document referenced in Paragraph “12” of the Complaint.

AS AND FOR AN ANSWER TO FACTS
13. Gallus denies having knowledge or information sufficient to form a belief as to the

truth of the allegations set forth in Paragraph “13” of the Complaint.
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14. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “14” of the Complaint.

15. Gallus admits each and every allegation set forth in Paragraph “15” of the
Complaint.

16. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “16” of the Complaint.

17. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “17” of the Complaint.

18. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “18” of the Complaint.

19, Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “19” of the Complaint.

20. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “20” of the Complaint and respectfully refers the
Court to the documents annexed to the Third-Party Complaint as Exhibit “A”.

21. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “21” of the Complaint and respectfully refers the
Court to the documents annexed to the Third-Party Complaint as Exhibit “B”.

22. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “22” of the Complaint.

23. Gallus denies the allegation set forth in Paragraph “23” of the Complaint that the

tax returns for the Estate had not been timely prepared, admits that proper and timely extensions
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were filed, and denies having knowledge or information sufficient to form a belief as to the truth
of the remainder of the allegations set forth in Paragraph “23” of the Complaint.

24. Gallus denies the allegations set forth in Paragraph “24” of the Complaint as they
relate or pertain to Gallus with regard to the allegation that the tax returns were not prepared in a
timely manner, and admits the allegations set forth in Paragraph “24” of the Complaint that
extensions of time were filed.

25. Gallus denies each and every allegation set forth in Paragraph “25” of the
Complaint.

26. Gallus denies the allegations set forth in Paragraph “26” of the Complaint that
Sharon Sendyk had no input regarding estimated taxes, and denies having knowledge or
information sufficient to form a belief as to the truth of the remainder of the allegations set forth
in Paragraph “26” of the Complaint

27. Gallus admits each and every allegation set forth in Paragraph “27” of the
Complaint.

28. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “28” of the Complaint.

29. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “29” of the Complaint.

30. Gallus denies each and every allegation set forth in Paragraph “30” of the
Complaint.

31. Gallus denies each and every allegation set forth in Paragraph “31” of the

Complaint as they relate or pertain to Gallus and denies having knowledge or information
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sufficient to form a belief as to the truth of the remainder of the allegations set forth in Paragraph
“31” of the Complaint.

32. Gallus denies each and every allegation set forth in Paragraph “32” of the
Complaint as they relate or pertain to Gallus and denies having knowledge or information
sufficient to form a belief as to the truth of the remainder of the allegations set forth in Paragraph
“32” of the Complaint.

33. Gallus denies each and every allegation set forth in Paragraph “33” of the
Complaint.

34. Gallus denies each and every allegation set forth in Paragraph “34” of the
Complaint as they relate or pertain to Gallus and denies having knowledge or information
sufficient to form a belief as to the truth of the remainder of the allegations set forth in Paragraph
“34” of the Complaint.

35. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “35” of the Complaint.

AS AND FOR AN ANSWER TO THE FIRST CAUSE OF ACTION
(NEGLIGENT MISREPRESENTATION)

36-43. The Complaint’s first cause of action as against Gallus has been dismissed in its

entirety pursuant to the Court’s July 2, 2019 Order and Decision.

AS AND FOR AN ANSWER TO THE SECOND CAUSE OF ACTION
(BREACH OF CONTRACT)

44-52. The Complaint’s second cause of action as against Gallus has been dismissed in its

entirety pursuant to the Court’s July 2, 2019 Order and Decision.
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AS AND FOR AN ANSWER TO THE THIRD CAUSE OF ACTION
(PROFESSIONAL NEGLIGENCE)

53. Gallus repeats, reiterates and restates each and every allegation set forth in
Paragraphs “1” through “52” above as if fully set forth herein.

54. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “54” of the Complaint.

55. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “55” of the Complaint.

56. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “56” of the Complaint.

57. Gallus denies having knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in Paragraph “57” of the Complaint.

58. Gallus denies each and every allegation set forth in Paragraph “58” of the
Complaint

59, Gallus denies each and every allegation set forth in Paragraph “59” of the
Complaint.

60. Gallus denies each and every allegation set forth in Paragraph “60” of the
Complaint.

61. Gallus denies each and every allegation set forth in Paragraph “61” of the
Complaint.

AS AND FOR AN ANSWER TO THE FOURTH CAUSE OF ACTION
(BREACH OF FIDUCIARY DUTY)

62-70. The Complaint’s third cause of action as against Gallus has been dismissed in its

entirety pursuant to the Court’s July 2, 2019 Order and Decision.
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AS AND FOR AN ANSWER TO THE FIFTH CAUSE OF ACTION
(COMMON LAW INDEMNIFICATION)

71. Gallus repeats, reiterates, and restates each and every allegation set forth in
Paragraphs “1” through “70” above as if fully set forth herein.

72. Gallus denies each and every allegation set forth in Paragraph “72” of the
Complaint.

73. Gallus denies each and every allegation set forth in Paragraph “73” of the
Complaint.

AS AND FOR A FIRST AFFIRMATIVE DEFENSE

74, The Complaint fails to state a claim upon which relief can be granted against

Gallus.
AS AND FOR A SECOND AFFIRMATIVE DEFENSE

75. Any and all damages allegedly sustained by third-party plaintiff as alleged in the
Complaint were caused in whole or in part by the culpable conduct, negligence or lack of care on
the part of third-party plaintiff, its agents, assigns, employees, attorneys, or others acting on its
behalf.

AS AND FOR A THIRD AFFIRMATIVE DEFENSE

76. Any and all damages allegedly sustained by third-party plaintiff were due in whole
or in part to the culpable conduct of parties other than Gallus and over whom Gallus exercised no
control and/or supervision.

AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

77. The liability of Gallus, if any, to third-party plaintiff is limited to Gallus’ equitable

share to be determined in accordance with the relative culpability of all parties contributing to the

losses sustained.
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AS AND FOR A FIFTH AFFIRMATIVE DEFENSE
78. Gallus did not violate any duty owed to third-party plaintiff under common law,
statute, regulations or standards.
AS AND FOR A SIXTH AFFIRMATIVE DEFENSE
79. Third-party plaintiff's claims are barred, in whole or in part, by the doctrines of
waiver, laches, estoppel, unclean hands and avoidable consequences.
AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE
80. Third-party plaintiff's damages, if any, were sustained as a result of intervening
superseding causes, which were out of the control of Gallus and not the result of the conduct, acts
or omissions of Gallus. By virtue of said intervening superseding causes, third-party plaintiff’ s
damages were not proximately caused by Gallus, and, therefore, all remaining causes of action and
claims against Gallus should be dismissed.
AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE
81. The allegations and claims set forth in this action are premature and not ripe for
adjudication.
AS AND FOR A NINTH AFFIRMATIVE DEFENSE
82. Third-party plaintiff has failed to sustain and/or cannot demonstrate actual and
ascertainable damages as a result of Gallus’ alleged malpractice.
AS AND FOR A TENTH AFFIRMATIVE DEFENSE
83. Gallus’ actions and/or strategic decisions in representing third-party plaintiff were

reasonable and met the applicable standard(s) of care.
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AS AND FOR AN ELEVENFTH AFFIRMATIVE DEFENSE

84. The Complaint is barred since any damages alleged in the Complaint were caused
by the failures of third-party plaintiff to exercise reasonable and ordinary care, caution and
vigilance.

AS AND FOR A TWELTH AFFIRMATIVE DEFENSE

85. The Complaint is barred as a result of third-party plaintiffs failure to mitigate

damages, if any.
AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

86. The damages alleged in the Complaint, if any, are barred and/or limited by the

doctrines of comparative and/or contributory negligence.
AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

87. Gallus was not the proximate or actual cause of the damages claimed by third-party

plaintiff.
AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

88. Gallus breached no duty to third-party plaintiff, and, as such, is not liable for any

damages.
AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

89. Gallus complied fully with all applicable standards of care with respect to the

matters alleged in the Complaint.
AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

90. Gallus is not in any way liable, either directly or vicariously, for the actions of any

other persons or entities that may have caused or contributed to the damages alleged in the

Complaint.
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AS AND FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE

91. The Complaint is barred and/or limited by the statutes, codes and other provisions

upon which the pleading is based.
AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE

92. Gallus bears no legal responsibility for the actions of third-party plaintiff and/or
non-parties as alleged in the Complaint, which were unforeseeable and which actions were the
proximate cause of any damages as alleged in the Complaint, and, as such, all causes of actions
asserted and remaining against Gallus in the Complaint are barred.

AS AND FOR A TWENTIENTH AFFIRMATIVE DEFENSE

93. All risks and dangers of loss or damages connected with the transaction(s) alleged
in the Complaint were, at the time and place mentioned, open, obvious and apparent, and were
known by third-party plaintiff, and, as such, all such risks, dangers of loss, or damages were
voluntarily assumed by third-party plaintiff.

AS AND FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE
94. Third-party plaintiffs claims are barred by the doctrine of accounting interference.
AS AND FOR A TWENTY-SECOND AFFIRMATIVE DEFENSE

95. Third-party plaintiffs claims are barred by their failure to join necessary and

indispensable parties without whom this action cannot proceed.
AS AND FOR A TWENTY-THIRD AFFIRMATIVE DEFENSE
96. The claims alleged in the Complaint are barred by the loss causation doctrine.
AS AND FOR A TWENTY-FOURTH AFFIRMATIVE DEFENSE
97. The claims alleged in the Complaint are barred based upon the doctrine of in pari

delicto.

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AS AND FOR A TWENTY-FIFTH AFFIRMATIVE DEFENSE

98. If third-party plaintiff sustained damages as alleged in the Complaint, all of which
are denied, then such damages were caused in whole or in part by the culpable conduct of the third-
party plaintiff and the amount of damages otherwise recoverable, if any, shall be diminished by
such degree of culpable conduct as is attributable to the third-party plaintiff.

AS AND FOR A TWENTY-SIXTH AFFIRMATIVE DEFENSE

99, If third-party plaintiff sustained damages as alleged in the Complaint, other than by
reason of its own culpable conduct, then such damages were caused in whole or in part by the
culpable conduct of some third person or persons or entity or entities over whom Gallus had no
supervision or control, or over whom Gallus had no duty of supervision or control.

AS AND FOR A TWENTY-SEVENTH AFFIRMATIVE DEFENSE

100. The negligence of those responsible for the incident(s) and/or the occurrence(s)
alleged in the Complaint constitutes separate, independent, superseding, intervening culpable
acts/omissions, which constitutes the sole proximate cause of third-party plaintiffs alleged
damages.

AS AND FOR A TWENTY-EIGHTH AFFIRMATIVE DEFENSE
101. This Court lacks jurisdiction over the subject matter of this action as to Gallus.
AS AND FOR A TWENTY-NINTH AFFIRMATIVE DEFENSE

102. Gallus did not make any material misrepresentations or omissions of facts as
alleged in the Complaint and, as such, all causes of action asserted and remaining in the Complaint
setting forth the same are barred.

AS AND FOR A THIRTIETH AFFIRMATIVE DEFENSE

103. The claims alleged in the Complaint are barred pursuant to the imputation doctrine.

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AS AND FOR A THIRTY-FIRST AFFIRMATIVE DEFENSE
104. Third-party plaintiff's claims are barred by the doctrine of ratification.
AS AND FOR A THIRTY-SECOND AFFIRMATIVE DEFENSE
105. Gallus generally denies liability in this action and states that he is not indebted to
third-party plaintiff as alleged in the Complaint.
AS AND FOR A THIRTY-THIRD AFFIRMATIVE DEFENSE
106. The Complaint is barred in whole or in part by the doctrines of set-off and/or
recoupment.
AS AND FOR A THIRTY-FOURTH AFFIRMATIVE DEFENSE
107. Gallus denies any and all liability for the acts alleged in the Complaint. To the
extent that Gallus is found liable for any of the acts alleged in the Complaint, which liability he
denies, Gallus alleges that said damages were the proximate result of the negligence of third-party
plaintiff and demands contribution from third-party plaintiff.
AS AND FOR A THIRTY-FIFTH AFFIRMATIVE DEFENSE
108. Gallus hereby expressly incorporates by reference each and every applicable and
relevant separate defense contained in the answers of any and all other defendants who may later
be added or joined in this action.
AS AND FOR A THIRTY-SIXTH AFFIRMATIVE DEFENSE
109. Gallus reserves the right to raise such other and further affirmative defenses as may
be uncovered during the course of this action up to and including at the time of trial.
AS AND FOR A THIRTY-SEVENTH AFFIRMATIVE DEFENSE
110. Insofar as the Complaint seeks damages against Gallus, the Complaint must be

dismissed because third-party plaintiff has not sustained any damages.

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AS AND FOR A THIRTY-EIGHTH AFFIRMATIVE DEFENSE
111. Gallus states that there exists a defense to the causes of action asserted in the

Complaint which is founded upon documentary evidence.

AS AND FOR CROSS-CLAIMS AGAINST MALA SENDYK AS ADMINISTRATOR OF
THE ESTATE OF BENJAMIN SENDYK, INTERIORS BY B&H, INC., 1808 2"4
REALTY, LLC, and LEONARD RODNEY (together, “Co-Defendants”)

112. If third-party plaintiff sustained any injuries or damages as alleged in the
Complaint, which is fully denied, through negligence, carelessness or recklessness other than third-
party plaintiff's own, and in the event damages are assessed to Gallus, said damages were caused
solely by the primary, active and affirmative negligence, recklessness, culpable conduct, breach of
contract, and/or breach of warranties of Co-Defendants, their agents, servants and/or employees,
with any negligence on the part of Gallus being only vicarious, secondary, passive and/or
derivatively only.

113. By reason of the foregoing, Gallus is entitled to full and complete indemnification
from, and to judgment over and against Co-Defendants for full indemnification.

114. If third-party plaintiff sustained any injuries or damages as alleged in the
Complaint, which is fully denied, through the negligence, carelessness or recklessness other than
third-party plaintiff's own, and if complete indemnity is not granted as demanded under Gallus’
cross-claim for such, Gallus, is nevertheless entitled to contribution from Co-Defendants, over and
above its equitable share of any judgment, verdict and/or recovery obtained by third-party plaintiff,
as determined in accordance with the relative culpability of each party liable for contribution.

115. Pursuant to the terms of Gallus’ engagement agreement and contract(s) existing

between Co-Defendants and Gallus, Co-Defendants are contractually obligated to provide Gallus

with a defense to the subject action and to indemnify Gallus for amounts recovered by third-party

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plaintiff, if any, as well as such costs, attorneys’ fees and disbursements as may be incurred by

Gallus in the defense of the action.

AS AND FOR A COUNTERCLAIM AGAINST THIRD-PARTY PLAINTIFF SHARON
SENDYK AS ADMINISTRATOR OF THE ESTATE OF BENJAMIN SENDYK

116. Pursuant to the terms of Gallus’ engagement agreement and contract(s) existing
between Gallus and the Estate of Benjamin Sendyk, the Estate of Benjamin Sendyk agreed to
telease, indemnify, and hold Gallus, and its officers and employees, harmless from any liability
and costs, and, thus, third-party plaintiff is contractually obligated to provide Gallus with a defense
and to indemnify Gallus for amounts recovered by plaintiff, if any, as well as such costs, attorneys’
fees and disbursements as may be incurred by Gallus in the defense of the action.

WHEREFORE, Gallus demands judgment:

(A) Dismissing the Complaint;

(B) Granting Gallus’ cross-claims in their entirety;

(C) Granting Gallus’ counter-claims in their entirety;

(D) Awarding Gallus the costs and disbursement of this action, including attorneys’
and investigative fees; and

(E) Awarding Gallus such other and further relief as this Court may deem just and
proper.

Dated: Woodbury, New York MILBER MAKRIS PLOUSADIS
August 2, 2019 & SEIDEN, LLP

By: ha A 4Wile if 7
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TO:

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Bryan Cave, LLP

Attorneys for Plaintiff

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Leonard Rodney, Esq.

Attorneys for Defendants

Mala Sendyk as Administrator

Of the Estate of Benjamin Sendyk, Interiors
By B&H Inc.,

and Attorney for Third-Party Defendant
Leonard Rodney, Esq.

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Anita S. Cohen Esq.

Attorney for Defendant/
Third-Party Plaintiff

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Rebecca Hollis, Esq.

Fidelity Law Group

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New York, New York 10118

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“UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x

 

MAPLEWOOD AT UPPER EAST SIDE, LLC,
1:17-cv-02914-DAB
Plaintiff,
~against-

MALA SENDYK AS ADMINISTRATOR OF THE
ESTATE OF BENJAMIN SENDYK, SHARON
SENDYK AS ADMINISTRATOR OF THE ESTATE
OF BENJAMIN SENDYK, CHICAGO TITLE
INSURANCE COMPANY, as

Escrow agent/stakeholder, INTERIORS BY

B & H, INC. and 1808 2"? REALTY, LLC,

Defendants.

 

SHARON SENDYK AS ADMINISTRATOR OF
THE ESTATE OF BENJAMIN SENDYK,
Third-Party Plaintiff,
-against-

LEONARD RODNEY, ESQ. and LARRY GALLUS, CPA,

Third-Party Defendants.
--X

 

 

ANSWER TO THIRD-PARTY COMPLAINT

 

MILBER MAKRIS PLOUSADIS & SEIDEN, LLP
ATTORNEYS AT LAW
Attorneys for Defendants
Office and Post Office Address, Tellephone
1000 Woodbury Road, Suite 402
Woodbury, NY 11797
(516) 712-4000
MMPS File No.: 0446-14142

 

 

To Signature (Rule 130-1.1-a) :

TC RaaRR poe soe ves deleiiiyaintiiees eaRRnN eS eNTINEE
Attorney(s) for
Service of a copy of the within is hereby admitted.
Dated besuudureuvesciucetssececns AAW awa REESE

Attorney(s) for

Please take notice

UO NOTICE OF ENTRY

that the within is a (certified) true copy of a

duly entered in the office of the clerk of the within named court on

0 NOTICE OF SETTLEMENT

that an order of which the within is a true copy will be presented for settlement to the
HON. one of the judges of the within named court,
